Form B271 (Official Form 271)

                                  United States Bankruptcy Court
                                          Southern District of Alabama
                                              Case No. 12−01110
                                                      Chapter 7
    In re:

       Omar Flores Walstad
       8931 Sherman Rd.
       Foley, AL 36535
       Social Security No.:
       xxx−xx−7852


                                                FINAL DECREE
    The estate of the above named debtor has been fully administered. Denise I. Littleton is discharged as trustee
    of the estate of the above−named debtor and the bond is cancelled:

    The Chapter 7 case of the above named debtor is closed; and the surety or sureties on said bond be, and they
    hereby are released further liability thereunder, except any liability which may have accrued during the time
    such bond was in effect.




    Dated: 8/7/12




    Case 12-01110           Doc 28     Filed 08/09/12 Entered 08/10/12 00:00:34                  Desc Imaged
                                      Certificate of Notice Page 1 of 3
                                                United States Bankruptcy Court
                                                Southern District of Alabama
 In re:                                                                                                     Case No. 12-01110-WSS
 Omar Flores Walstad                                                                                        Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 1128-1                  User: holmes                       Page 1 of 2                          Date Rcvd: Aug 07, 2012
                                       Form ID: B271                      Total Noticed: 1


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Aug 09, 2012.
 db            +Omar Flores Walstad,  8931 Sherman Rd.,   Foley, AL 36535-5420

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 09, 2012                                       Signature:



           Case 12-01110            Doc 28       Filed 08/09/12 Entered 08/10/12 00:00:34                         Desc Imaged
                                                Certificate of Notice Page 2 of 3
District/off: 1128-1         User: holmes                Page 2 of 2                  Date Rcvd: Aug 07, 2012
                             Form ID: B271               Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 7, 2012 at the address(es) listed below:
              Deetric Montgomery Hicks   on behalf of Creditor Seterus, Inc. dmhicks@jflegal.com
              Denise I. Littleton   diltrustee@bellsouth.net,
               ruth_boney@alsba.uscourts.gov;dlittleton@ecf.epiqsystems.com
              James E. Loris   on behalf of Debtor Omar Walstad lorislawfirm@gmail.com, lorisedge@msn.com
                                                                                            TOTAL: 3




        Case 12-01110      Doc 28     Filed 08/09/12 Entered 08/10/12 00:00:34          Desc Imaged
                                     Certificate of Notice Page 3 of 3
